
The People of the State of New York, Respondent,
againstJonathan Alvarado, Defendant-Appellant.



Defendant appeals from a judgment of the Criminal Court of the City of New York, New York County (Kevin B. McGrath, J.), rendered October 21, 2015, convicting him, upon a plea of guilty, of operating a motor vehicle while intoxicated, and imposing sentence.




Per Curiam.
Judgment of conviction (Kevin B. McGrath, J.), rendered October 21, 2015, affirmed.
Application by appellant's counsel to withdraw as counsel is granted (see Anders v California, 386 U.S. 738 [1967]; People v Saunders, 52 AD2d 833 [1976]). We are satisfied with the sufficiency of the brief filed by defendant's assigned counsel pursuant to Anders, and, upon an independent review of the record, agree that there is no valid appealable issue that could be raised on appeal.
THIS CONSTITUTES THE DECISION AND ORDER OF THE COURT.
I concur I concur I concur
Decision Date: December 18, 2017










